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                         Document Page 1 of 7
Case:16-00257-EAG Doc#:1 Filed:11/28/16 Entered:11/28/16 17:03:28   Desc: Main
                         Document Page 2 of 7
Case:16-00257-EAG Doc#:1 Filed:11/28/16 Entered:11/28/16 17:03:28   Desc: Main
                         Document Page 3 of 7
Case:16-00257-EAG Doc#:1 Filed:11/28/16 Entered:11/28/16 17:03:28   Desc: Main
                         Document Page 4 of 7
Case:16-00257-EAG Doc#:1 Filed:11/28/16 Entered:11/28/16 17:03:28   Desc: Main
                         Document Page 5 of 7
Case:16-00257-EAG Doc#:1 Filed:11/28/16 Entered:11/28/16 17:03:28   Desc: Main
                         Document Page 6 of 7
Case:16-00257-EAG Doc#:1 Filed:11/28/16 Entered:11/28/16 17:03:28   Desc: Main
                         Document Page 7 of 7
